           Case 2:19-cv-00604-RFB-DJA Document 22
                                               21 Filed 10/21/20
                                                        10/20/20 Page 1 of 5
                                                                           6



 1   Paul D. Powell, Esq.
     Nevada Bar No. 7488
 2   Tom W. Stewart, Esq.
     Nevada Bar No. 14280
 3   THE POWELL LAW FIRM
     8918 Spanish Ridge Avenue, Suite 100
 4   Las Vegas, Nevada 89148
     paul@tplf.com
 5   Phone: (702) 728-5500
 6   Facsimile: (702) 728-5501
     Attorney for Plaintiff
 7
                                     UNITED STATES DISTRICT COURT
 8
                                            DISTRICT OF NEVADA
 9
10   THOMAS SIPAN, individually,                         ) CASE NO. 2:19-cv-00604-RFB-DJA
                                                         )
11                  Plaintiff,                           )
            vs.                                          )
12
                                                         )
13   STATE FARM MUTUAL AUTOMOBILE                        )
     INSURANCE COMPANY, individually,                    )
14   DOES I-X, and ROE CORPORATIONS I-X,                 )
                                                         )
15                  Defendants.                          )
16                                                       )
                                                         )
17
                    STIPULATION AND ORDER TO EXTEND DISCOVERY DEADLINES
18
                                      (FOURTH REQUEST)
19
            It is hereby stipulated by and between Plaintiff Thomas Sipan, by and through his attorneys, Paul D.
20
21   Powell, Esq. and Thomas W. Stewart, Esq. of The Powell Law Firm, and Defendant, State Farm Mutual

22   Automobile Insurance Company, by and through its attorney, Benjamin J. Carman, Esq. of the law firm
23   Carman Cooney Forbush PLLC (collectively, the parties), and, hereby stipulate and agree to continue the
24
     discovery dates in this matter and request that the court enter a new discovery scheduling order containing
25
     said agreed-upon dates.
26
27                A. STATEMENT SPECIFYING THE DISCOVERY COMPLETED

28          1.      Defendant served its Initial Disclosures pursuant to LR 26-1 and FRCP 26(a)(1) on August

     20, 2019.


                                                         -1-
             Case 2:19-cv-00604-RFB-DJA Document 22
                                                 21 Filed 10/21/20
                                                          10/20/20 Page 2 of 5
                                                                             6



 1           2.    Plaintiff served his Initial Disclosures pursuant to LR 26-1 and FRCP 26(a)(1) on July 26,
 2
     2019.
 3
             3.    Plaintiff served his First Set of Requests for Admission, First Set of Interrogatories, and
 4
 5
     First Set of Requests for Production of Documents on September 9, 2019.

 6           4.    Defendant served its Responses to Plaintiff’s First Set of Requests for Admissions, First Set
 7   of Interrogatories, and First Set of Requests for Production of Documents on October 28, 2019.
 8
             5.    Defendant served its First Set of Requests for Admission, First Set of Requests for
 9
     Production of Documents, and First Set of Interrogatories on July 24, 2019.
10
11           6.    Plaintiff served his Responses to Defendant’s First Set Requests for Admission, First Set of

12   Requests for Production of Documents, and First Set of Interrogatories on December 17, 2019.
13           7.    State Farm has obtained numerous sets of medical records from various healthcare providers
14
     identified by Mr. Sipan, both in Nevada and in Arizona.
15
             8.    Plaintiff’s Designation of Expert Witnesses was served on February 27, 2020.
16
17           9.    Plaintiff served his First Supplement to Initial Disclosures pursuant to LR 26-1 and FRCP

18   26(a)(1) on February 27, 2020.
19
             10.   Defendant’s Designation of Expert Witnesses was served on February 28, 2020.
20
             11.   Plaintiff’s deposition was conducted on August 12, 2020.
21
22           12.   Defendant’s First Supplement to Designation of Expert Witnesses was served on August 27,

23   2020.
24           13.   Plaintiff’s First Supplement to his Designation of Expert Witnesses was served September
25
     25, 2020.
26
             14.   Plaintiff’s Rebuttal Expert Witness Disclosure was served September 25, 2020.
27
28




                                                         -2-
            Case 2:19-cv-00604-RFB-DJA Document 22
                                                21 Filed 10/21/20
                                                         10/20/20 Page 3 of 5
                                                                            6



 1               B. A SPECIFIC DESCRIPTION OF THE DISCOVERY THAT REMAINS TO BE
                    COMPLETED:
 2
 3          1.      Deposition of Defendant’s Person Most Knowledgeable of defendant State Farm Mutual

 4   Automobile Insurance Company.
 5
            2.      Deposition of Dr. Lyle Young, M.D.
 6
            3.      Deposition of Laurie Robinson.
 7
            4.      Deposition of Clayton Ande, former employee of State Farm Mutual Automobile Insurance
 8
 9   Company.

10          5.      Depositions of plaintiff’s experts.
11
            6.      Depositions of defendant’s experts
12
            7.      Depositions of the Person Most Knowledgeable from plaintiff’s medical providers relevant
13
14   to treatment rendered to plaintiff since the date of this accident;

15          8.      Obtain significant records related to plaintiff’s current treatment and condition;
16          9.      Any other discovery which may be determined as relevant and necessary by the parties;
17
                 C. THE REASONS WHY THE DISCOVERY REMAINING WAS NOT COMPLETED
18                  WITHIN THE TIME LIMITS SET BY THE DISCOVERY ORDER:
19          The onset of the covid-19 pandemic has made conducting depositions—especially depositions of
20
     physicians, many of whom have an understandably increased workflow and decreased availability—and
21
     other discovery-related tasks more difficult. As a result, the parties seek a 90-day extension of time to
22
23   allow the scheduling and completion of crucial depositions, including plaintiff’s treating physicians, other

24   medical providers, and the person most knowledgeable for State Farm.
25
            The following is a list of current discovery deadlines and the parties’ proposed extended deadlines.
26
27
28




                                                            -3-
            Case 2:19-cv-00604-RFB-DJA Document 22
                                                21 Filed 10/21/20
                                                         10/20/20 Page 4 of 5
                                                                            6



 1              D. A PROPOSED SCHEDULE FOR COMPLETING ALL REMAINING DISCOVERY
 2
                    Current Discovery Deadlines:
 3
                    Close of Discovery:                                            October 27, 2020
 4
 5
                    Last day to file Dispositive Motions:                          November 27, 2020

 6                  Pre-Trial Order:                                               December 29, 2020
 7                  Proposed Discovery Deadlines:
 8
                    Close of Discovery:                                            January 25, 2021
 9
                    Last day to file Dispositive Motions:                          February 25, 2021
10
11                  Pre-Trial Order:                                               March 29, 2021

12              E. THE CURRENT TRIAL DATE
13          A jury trial date has not been set.
14
            This request is not being made for the purposes of unduly delaying discovery or the trial in this
15
     matter. Further, good cause exists to extend the scheduled deadlines as set forth above.
16
17          So agreed.

18   Dated this 20th day of October, 2020.                        Dated this 20th day of October, 2020.
19
     THE POWELL LAW FIRM                                          CARMAN COONEY FORBUSH
20                                                                PLLC
21   By: _/s/ Tom W. Stewart, Esq.     _                          By: /s/ Benjamin Carman, Esq.
     Paul D. Powell, Esq.                                         Benjamin Carman, Esq.
22                                                                Nevada Bar No. 12565
     Nevada Bar No. 7488
23   Tom W. Stewart, Esq.                                         4045 Spencer Street, A47
     Nevada Bar No. 14280                                         Las Vegas Nevada 89119
24   8918 Spanish Ridge Avenue, Suite 100                         Attorneys for Defendant
25   Las Vegas, Nevada 89148
     Attorneys for Plaintiff
26
27
28




                                                            -4-
           Case 2:19-cv-00604-RFB-DJA Document 22
                                               21 Filed 10/21/20
                                                        10/20/20 Page 5 of 5
                                                                           6



 1                                                   Sipan v. State Farm Mutual Automobile Insurance Company
                                                                                     2:19-cv-00604-RFB-DJA
 2
 3                                                     ORDER

 4          Pursuant to stipulation by the parties, and for good cause shown, the discovery deadlines are
 5
     continued as follows:
 6
                     Close of Discovery:                                       January 25, 2021
 7
 8                   Last day to file Dispositive Motions:                     February 25, 2021

 9                   Pre-Trial Order:                                          March 29, 2021
10          IT IS SO ORDERED.
11
                  October
            DATED this _____21,
                             day2020
                                 of ______________, 2020.
12
13
14
                                                 ________________________________________
                                              ______________________________________
15                                                UNITED
                                              DANIEL      STATES DISTRICT COURT JUDGE
                                                      J. ALBREGTS
16                                            UNITED STATES MAGISTRATE JUDGE
     Submitted by:
17
     THE POWELL LAW FIRM
18
     /s/ Tom W. Stewart, Esq.
19   Paul D. Powell, Esq.                                    .
20   Nevada Bar No. 7488
     Tom W. Stewart, Esq.
21   Nevada Bar No. 14280
     8918 Spanish Ridge Avenue, Ste. 100
22   Las Vegas, NV 89148
     Attorneys for Plaintiff
23
24
25
26
27
28




                                                             -5-
